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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Butler et al v. Hogshead-Maker                 Case Number: 21-cv-06854
            et al

An appearance is hereby filed by the undersigned as attorney for:
Defendant Sarah Powers-Barnhard
Attorney name (type or print): Vivek Jayaram

Firm: Jayaram Law, Inc.

Street address: 125 South Clark Street, Suite 1175

City/State/Zip: Chicago, IL 60603

Bar ID Number: 6284388                                     Telephone Number: 312-212-8676
(See item 3 in instructions)

Email Address: vivek@jayaramlaw.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 02/08/2022

Attorney signature:            S/ Vivek Jayaram
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
